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 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
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11    Watson Music Group, LLC ,      )                SACV 23-01673-JVS(KESx)
                                     )
12                                   )                ORDER OF DISMISSAL UPON
                    Plaintiff,       )
13                                   )                SETTLEMENT OF CASE
            v.                       )
14                                   )
      Ballislife, Inc.,              )
15                                   )
                    Defendant(s).    )
16                                   )
                                     )
17    ______________________________ )
18
19          The Court having been advised by the counsel for the parties that the above-
20    entitled action has been settled,
21          IT IS ORDERED that this action be and is hereby dismissed in its entirety
22    without prejudice to the right, upon good cause being shown within 45 days, to reopen
23    the action if settlement is not consummated. The Court orders all proceedings in the
24    case vacated and taken off calendar.
25
26    DATED: January 2, 2024
27
                                                   __________________________
                                                   James V. Selna
28
                                                   U.S. District Judge
